                                   Case 24-21852-LMI                Doc 1        Filed 11/12/24            Page 1 of 18


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Gaucho Group Holdings, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  112 NE 41st St., Ste. 106
                                  Miami Beach, FL 33139
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.gauchoholdings.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                      Case 24-21852-LMI                Doc 1         Filed 11/12/24              Page 2 of 18
Debtor    Gaucho Group Holdings, Inc.                                                                 Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                           Case 24-21852-LMI                    Doc 1      Filed 11/12/24               Page 3 of 18
Debtor    Gaucho Group Holdings, Inc.                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                  No
    pending or being filed by a
    business partner or an                    Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                           Debtor                                                                    Relationship
                                                      District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                 preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                  No
    have possession of any
    real property or personal                        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                            Yes.
    property that needs
    immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                        It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                        Other
                                                     Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                        No
                                                        Yes.     Insurance agency
                                                                 Contact name
                                                                 Phone



          Statistical and administrative information

13. Debtor's estimation of             .          Check one:
    available funds
                                                     Funds will be available for distribution to unsecured creditors.
                                                     After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                     1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                                5001-10,000                                 50,001-100,000
                                            50-99
                                            100-199                                          10,001-25,000                               More than100,000
                                            200-999

15. Estimated Assets                        $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                            $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                            $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                            $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                   $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                            Case 24-21852-LMI             Doc 1       Filed 11/12/24           Page 4 of 18
Debtor   Gaucho Group Holdings, Inc.                                                Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                  Case 24-21852-LMI                  Doc 1         Filed 11/12/24             Page 5 of 18
Debtor    Gaucho Group Holdings, Inc.                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 12, 2024
                                                  MM / DD / YYYY


                             X /s/ Scott Mathis                                                           Scott Mathis
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO/President




18. Signature of attorney    X /s/ Nathan G. Mancuso                                                       Date November 12, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Nathan G. Mancuso 174254
                                 Printed name

                                 Mancuso Law, P.A.
                                 Firm name

                                 7777 Glades Rd., Suite 100
                                 Boca Raton, FL 33434
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     561-245-4705                  Email address      ngm@mancuso-law.com

                                 174254 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
Docusign Envelope ID: 45F08AD1-0A98-42EC-BBAC-87874FE1BE1B
                             Case 24-21852-LMI           Doc 1   Filed 11/12/24      Page 6 of 18




                                           GAUCHO GROUP HOLDINGS, INC.
                                               (a Delaware corporation)

                               Action Taken by the Board of Directors Without a Meeting

                     The undersigned, being all of the directors of Gaucho Group Holdings, Inc., a Delaware

            corporation (the “Company”), acting pursuant to Section 141(f) of the General Corporation Law

            of the State of Delaware, do hereby waive all notice of the time, place and purposes of a Meeting

            of the Board of Directors of the Company (the “Board”), and hereby consent and agree to the

            adoption of the following resolutions:

            3i Litigation and Chapter 11 Reorganization

                    WHEREAS, on February 16, 2024, the Company commenced an action in the United States
            District Court for the District of Delaware through the filing of a complaint against 3i, LP, 3i
            Management LLC, and Maier Joshua Tarlow (the “3i Parties”), alleging that the 3i Parties have each
            committed underlying violations of the Securities Exchange Act of 1934 and, therefore, the Securities
            Purchase Agreement dated February 21, 2023, the Senior Secured Convertible Note (the “Note”) dated
            February 21, 2023, and all related agreements (collectively, the “Securities Contracts”) entered into
            by the parties are void;
                    WHEREAS, on April 5, 2024, the 3i Parties filed their answer to the Company’s complaint,
            wherein they interposed affirmative defenses and asserted four counterclaims against the Company: (i)
            breach of contract, arising from the Note, (ii) request for preliminary injunction and permanent
            injunction, (iii) unjust enrichment and (iv) restitution;
                    WHEREAS, on April 26, 2024, the Company responded to the 3i Parties’ counterclaims by
            filing a partial motion to dismiss, which sought dismissal of the 3i Parties’ counterclaims for (i)
            preliminary and permanent injunction, (ii) unjust enrichment and (iii) restitution;
                    WHEREAS, on July 16, 2024, the 3i Parties gave notice to the Company that they had
            scheduled a foreclosure sale under the Uniform Commercial Code for September 16, 2024 (the “UCC
            Sale”);
                   WHEREAS, on August 13, 2024, the Company moved for a temporary restraining order and
            preliminary injunction against the 3i Parties, requesting that the Court enjoin the 3i Parties’ attempt to
            conduct the UCC Sale;
                    WHEREAS, on November 5, 2024, the Court granted the Company’s motion to dismiss the
            counterclaims for request for preliminary injunction and permanent injunction and restitution but
            denied the Company’s request for preliminary injunction (the “PI Denial”);
                     WHEREAS, as a result of the PI Denial, the UCC Sale is scheduled for November 13, 2024;
                   WHEREAS, management and several members of the Board have conferred with its legal
            counsel and believe it to be in the best interests of the Company and its stockholders and creditors to
Docusign Envelope ID: 45F08AD1-0A98-42EC-BBAC-87874FE1BE1B
                             Case 24-21852-LMI           Doc 1       Filed 11/12/24   Page 7 of 18



            file a petition under Chapter 11 of the United States Bankruptcy Code to propose a plan of
            reorganization (the “Reorganization”);
                    WHEREAS, pursuant to Section 9 of the Certificate of Designation of the Senior Convertible
            Preferred Stock of the Company dated May 21, 2024, the Company is required to obtain the approval
            of the holders at least 50.01% of the current outstanding shares of Senior Convertible Preferred Stock,
            either in writing without a meeting or at an annual or a special meeting of such holders, voting
            separately as a single class with one vote per share of Preferred Stock (the “Required Approval”);
            and
                     WHEREAS, the Required Approval was obtained on November 12, 2024.
                    NOW, THEREFORE, BE IT RESOLVED, the Board hereby approves the filing of a
            petition under Chapter 11 of the United States Bankruptcy Code to propose a plan of reorganization
            and hereby authorizes the Company to engage the law firm of Mancuso Law, P.A. to file such petition
            and represent the Company in any contested matters and adversary proceedings commenced in the
            Reorganization;
                    RESOLVED, that the Company may, but not be required to file a petition under Chapter 11
            of the United States Bankruptcy Code to propose a plan of reorganization;
                    RESOLVED, that each of Scott L. Mathis, as President and Chief Executive Officer of the
            Company, and Maria I. Echevarria, the Chief Financial Officer of the Company, shall be considered
            an “Authorized Officer,” and collectively, the “Authorized Officers,” for the purposes of these
            resolutions, and with the advice and guidance of counsel, are hereby authorized to discuss settlement
            negotiations with the 3i Parties as they deem necessary or advisable;
                    RESOLVED, that the Authorized Officers be, and each them individually hereby is,
            authorized, empowered and directed in the name and on behalf of the Company to take or cause to be
            taken all further actions, and to make, execute and deliver, or cause to be made, executed and delivered,
            all such agreements, undertakings, documents, instruments, deeds or certificates in the name and on
            behalf of the Company, and to prepare, execute and file, or cause to be prepared, executed and filed,
            with any federal, state, local, foreign or other regulatory agencies any forms, reports, filings,
            applications or other documents, and to incur and pay, or cause to be incurred and paid, such expenses,
            fees and taxes as shall, in the opinion of such Authorized Officer(s), be deemed necessary, advisable
            or appropriate, and the taking of any such action or the preparation, delivery, execution or filing by
            any Authorized Officer(s) of any of the foregoing or the payment of any such expenditures shall
            conclusively establish authority therefor from and the approval of the Company to effectuate or carry
            out fully the purpose and intent of all of these resolutions; and

                    RESOLVED, that any and all actions heretofore taken by any Authorized Officer(s) in
            connection with the matters contemplated hereby on or prior to the date on which the Board adopted
            these resolutions be, and they hereby are ratified, confirmed and approved.

                                                    [Signature Page Follows]




                                                                 2
Docusign Envelope ID: 45F08AD1-0A98-42EC-BBAC-87874FE1BE1B
                             Case 24-21852-LMI           Doc 1       Filed 11/12/24   Page 8 of 18




                   IN WITNESS WHEREOF, the undersigned, constituting all the directors of Gaucho
            Group Holdings, Inc., hereby approve the foregoing consent as of the last day set forth below.
            This Consent may be executed in counterparts and facsimile, scanned or digital form.



                                                                              November 12, 2024

            Scott L. Mathis                                                   Date

                                                                              November 12, 2024

            Reuben Cannon                                                     Date


                                                                              November 12, 2024

            Marc Dumont                                                       Date

                                                                              November 12, 2024

            David Reinecke                                                    Date




                                                                 3
                                      Case 24-21852-LMI                  Doc 1     Filed 11/12/24     Page 9 of 18
Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                     Southern District of Florida
 In re       Gaucho Group Holdings, Inc.                                                                 Case No.
                                                                                 Debtor(s)               Chapter      11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is      .

2. The following financial data is the latest available information and refers to the debtor's condition on            6/30/24    .

 a. Total assets                                                                                     $                  15,778,138.00

 b. Total debts (including debts listed in 2.c., below)                                              $                  13,566,766.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                  unsecured                    subordinated                  $              1,936,025.00                              5
 secured                  unsecured                    subordinated                  $                611,073.00                              4
 secured                  unsecured                    subordinated                  $                531,000.00                              7
 secured                  unsecured                    subordinated                  $                       0.00                             0
 secured                  unsecured                    subordinated                  $                       0.00                             0

 d. Number of shares of preferred stock                                                                         0                             0

 e. Number of shares common stock                                                                        899,261                             700
    Comments, if any:


3. Brief description of Debtor's business:
   Debtor is a Delaware holding company headquartered in Miami, Florida, which owns certain subsidiaries including
   operating companies that own a winery, boutique hotel and real property in Argentina.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
   John I. Griffin
   Jerre Hills
   Ralph & Mary Rybacki




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com
                              Case 24-21852-LMI                   Doc 1        Filed 11/12/24          Page 10 of 18




Fill in this information to identify the case:

Debtor name         Gaucho Group Holdings, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       November 12, 2024               X /s/ Scott Mathis
                                                           Signature of individual signing on behalf of debtor

                                                            Scott Mathis
                                                            Printed name

                                                            CEO/President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                  Case 24-21852-LMI                   Doc 1       Filed 11/12/24                Page 11 of 18


 Fill in this information to identify the case:
 Debtor name Gaucho Group Holdings, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and complete    Name, telephone       Nature of claim          Indicate if claim   Amount of claim
 mailing address, including zip   number and email      (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 code                             address of creditor   debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                  contact               professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                        and government                               Total claim, if           Deduction for value        Unsecured claim
                                                        contracts)                                   partially secured         of collateral or setoff
 Abraham Katz                                           note                                                                                                   $164,100.97
 3175 Commercial Ave.
 Northbrook, IL 60062
 Allen Notowitz                                         note                                                                                                   $203,785.83
 2710 Victoria Manor
 San Carlos, CA 94070
 Burns, Figa & Will, P.C.                               legal services                                                                                         $162,779.10
 Attn: Victoria Bantz, Esq.
 6400 S. Fiddlers Green
 Cir., Ste. 100
 Greenwood Village, CO
 80111
 Jack Laschever                                         note                                                                                                   $236,365.83
 181 Soundview Ave.
 Rye, NY 10580
 James Dixon                                            note                                                                                                   $395,000.00
 16232 Headlands Cir.
 Anchorage, AK 99516
 Jerre Hills                                            note                                                                                                $1,027,123.54
 21005 Hwy. 30
 Filer, ID 83328
 JLAL                                                   note                                                                                                   $269,360.47
 4221 Way Out West Dr.,
 Ste. 100
 Houston, TX 77092
 John I. Griffin                                        note                                                                                                $2,067,265.56
 4221 Way Out West Dr.,
 Ste. 100
 Houston, TX 77092
 Kenneth Downing                                        note                                                                                                   $204,692.50
 216 Pico Blvd. #16
 Santa Monica, CA 90405
 Larry Schmalz                                          note                                                                                                   $226,663.53
 733 N. Carbon City Rd.
 Paris, AR 72855




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                  page 1
                                  Case 24-21852-LMI                   Doc 1       Filed 11/12/24                Page 12 of 18



 Debtor    Gaucho Group Holdings, Inc.                                                               Case number (if known)
           Name

 Name of creditor and complete    Name, telephone       Nature of claim          Indicate if claim   Amount of claim
 mailing address, including zip   number and email      (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 code                             address of creditor   debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                  contact               professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                        and government                               Total claim, if           Deduction for value        Unsecured claim
                                                        contracts)                                   partially secured         of collateral or setoff
 Marcum LLP                                             auditing services                                                                                      $183,642.89
 750 Third Ave., 11th Floor
 New York, NY 10017
 Mark Shatz                                             note                                                                                                   $363,165.85
 5453 Pond Bluff Ct.
 West Bloomfield, MI 48323
 Meline Doodnauth                                       note                                                                                                   $107,837.21
 17 Vallata Pl.
 Edison, NJ 08820
 Michael McCormack                                      note                                                                                                   $100,476.68
 3 Reading Ct.
 Trophy Club, TX 76262
 Niels-Ole Staehr                                       note                                                                                                   $122,864.09
 28633 Meadowmist Dr.
 Rancho Palos Verdes, CA
 90275
 Stanley Goldstein                                      note                                                                                                    $80,893.53
 16 Rockledge Ave., Apt
 7F2
 Ossining, NY 10562
 The Basile Law Firm P.C.                               legal services                                                                                         $115,000.00
 Attn: Mark R. Basile, Esq.
 390 N. Broadway, Ste. 140
 Jericho, NY 11753
 Theodoros Perides                                      note                                                                                                   $263,979.19
 388 Highland Ave.
 Cliffside Park, NJ 07010
 Timothy Treharne                                       note                                                                                                   $100,000.00
 1355 17th St. NW, Apt. 519
 Washington, DC 20336
 Watkins Johnston                                       note                                                                                                   $200,232.53
 1100 Chandler St.
 Montgomery, AL 36104




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                  page 2
    Case 24-21852-LMI   Doc 1   Filed 11/12/24   Page 13 of 18



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




            3i, LP
            Attn: Maier J. Tarlow
            2 Wooster St., Floor 2
            New York, NY 10013


            Abraham Katz
            3175 Commercial Ave.
            Northbrook, IL 60062


            Allen Notowitz
            2710 Victoria Manor
            San Carlos, CA 94070


            AMEX



            Brandon Lynch
            201 SE 2nd Ave., Apt. 1111
            Miami, FL 33131


            Brian Stern
            52 Wooster St., # 2
            New York, NY 10013


            Broadridge
            750 Third Ave., 10th Floor
            New York, NY 10017


            Burns, Figa & Will, P.C.
            Attn: Victoria Bantz, Esq.
            6400 S. Fiddlers Green Cir., Ste. 100
            Greenwood Village, CO 80111


            Cahill Gordon & Reindel LLP
            Attn: Joel H. Levitin, Esq.
            32 Old Slip
            New York, NY 10005


            Continental Stock Transfer
            135 Fifth Ave., 10th Floor
            New York, NY 10010


            Cory Bataan
            2425 Joel Dr.
            Bellmore, NY 11710
Case 24-21852-LMI   Doc 1   Filed 11/12/24   Page 14 of 18




        Dataccuity
        2001 NE Aloclek Dr. M079
        Hillsboro, OR 97124


        Fairdinkum Consulting
        15 East 32nd St., 9th Floor
        New York, NY 10016


        G.R. Reid Associates, LLP
        7600 Jericho Tpke., Ste. 400
        Woodbury, NY 11797


        Goulston & Storrs PC
        Attn: Douglas B. Rosner, Esq.
        One Post Office Sq., 25th Floor
        Boston, MA 02109


        Greg Gassoso
        126 Gatling Pl., Apt. 3B
        Brooklyn, NY 11209


        Gregory Johnson
        1127 Somerset Lane
        Newport Beach, CA 92660


        Greissy Pantaleon
        6192 Pine Lane
        Douglasville, GA 30135


        Jack Laschever
        181 Soundview Ave.
        Rye, NY 10580


        Jacquelyn Fresse
        715 Ave. C, Apt. 6
        Bayonne, NJ 07002


        James Dixon
        16232 Headlands Cir.
        Anchorage, AK 99516


        James Muir
        7614 McGroarty St.
        Tujunga, CA 91042
Case 24-21852-LMI   Doc 1   Filed 11/12/24   Page 15 of 18




        Jerre Hills
        21005 Hwy. 30
        Filer, ID 83328


        Jim Hamaker
        860 Grove Vale Dr.
        Prosper, TX 75078


        JLAL
        4221 Way Out West Dr., Ste. 100
        Houston, TX 77092


        John I. Griffin
        4221 Way Out West Dr., Ste. 100
        Houston, TX 77092


        John Raffaeli
        5 Miller Rd.
        Pound Ridge, NY 10576


        Kenneth Downing
        216 Pico Blvd. #16
        Santa Monica, CA 90405


        Kenneth Johnson
        17 N. San Francisco St., Ste. 3A
        Flagstaff, AZ 86001


        Larry Schmalz
        733 N. Carbon City Rd.
        Paris, AR 72855


        Litman Asche & Gioiella, LLP
        Attn: Richard Asche, Esq.
        350 Central Park West
        New York, NY 10025


        Marcum LLP
        750 Third Ave., 11th Floor
        New York, NY 10017


        Maria Echevarria
        14 Benmore Terr.
        Bayonne, NJ 07002
Case 24-21852-LMI   Doc 1   Filed 11/12/24   Page 16 of 18




        Mark Shatz
        5453 Pond Bluff Ct.
        West Bloomfield, MI 48323


        Marty Bataan
        25 Claredon Dr.
        Valley Stream, NY 11580


        Matias Mazza
        910 West Ave., Unit 1432
        Miami Beach, FL 33139


        McCarter & English
        100 Mulberry St.
        Newark, NJ 07102


        Meline Doodnauth
        17 Vallata Pl.
        Edison, NJ 08820


        Michael McCormack
        3 Reading Ct.
        Trophy Club, TX 76262


        Niels-Ole Staehr
        28633 Meadowmist Dr.
        Rancho Palos Verdes, CA 90275


        Parnasa Tova
        255 Aragon Ave., 2nd Fl.
        Coral Gables, FL 33134


        Petros Nikolinakos
        1090 Ramser Dr.
        Watkinsville, GA 30677


        Pharos Advisors
        299 Market St., Ste. 440
        Saddle Brook, NJ 07663


        RBSM, LLP
        805 Third Ave., Ste. 1430
        New York, NY 10022
Case 24-21852-LMI   Doc 1   Filed 11/12/24   Page 17 of 18




        Richards, Layton & Finger, P.A.
        Attn: Katharine L. Mowery, Esq.
        One Rodney Sq.
        920 N. King St.
        Wilmington, DE 19801


        Rick Stear
        215 West 105th St., Apt. 2F
        New York, NY 10025


        Robert Mills
        29 Montelago #13
        Henderson, NV 89011


        Ronald Szegi
        22614 Valerio St.
        West Hills, CA 91307


        Ross Dixon
        5627 Oberlin Dr.
        San Diego, CA 92121


        Say Technologies LLC
        155 Wooster St., Apt. 4F
        New York, NY 10012


        Scott Mathis
        1445 16th St., Ste. 403
        Miami Beach, FL 33139


        Sharad Ghamande
        703 Jones Creek
        Evans, GA 30809


        Stanley Goldstein
        16 Rockledge Ave., Apt 7F2
        Ossining, NY 10562


        The Basile Law Firm P.C.
        Attn: Mark R. Basile, Esq.
        390 N. Broadway, Ste. 140
        Jericho, NY 11753
Case 24-21852-LMI   Doc 1   Filed 11/12/24   Page 18 of 18




        The Nasdaq Stock Market, LLC
        151 W. 42nd St.
        New York, NY 10036


        Theodoros Perides
        388 Highland Ave.
        Cliffside Park, NJ 07010


        Timothy Treharne
        1355 17th St. NW, Apt. 519
        Washington, DC 20336


        Victor Goetz
        23 Hampton Ct
        Skillman, NJ 08558


        Vincent Mariato
        14 Deborah Loop
        Staten Island, NY 10312


        Watkins Johnston
        1100 Chandler St.
        Montgomery, AL 36104
